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         EXHIBIT 5-A
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           MAKE AMERICA GREAT AGAIN!
                                2024
                       - March 30, 2023 -


    Statement by Donald J. Trump,
 45th President of the United States
                            of America

"This is Political Persecution and Election Interference
at the highest level in history. From the t ime I came
down the golden escalator at Trump Tower, and even
before I was sworn in as your President of the United
States, the Radical Left Democrats - the enemy of the
hard -working men and women of this Country - have
been engaged in a Witch-Hunt to destroy the Make
America Great Again movement. You remember it just
like I do: Russia, Russia, Russia; the Mueller Hoax;
Ukraine, Ukraine, Ukraine; Impeachment Hoax 1;
Impeachment Hoax 2; the illegal and unconstitutional
Mar-a-Lago raid; and now this.


"The Democrats have lied, cheated and stolen in their
obsession with trying to 'Get Trump,' but now they've
done the unthinkable - indicting a completely innocent
person in an act of blatant Election Interference.


"Never before in our Nation's history has this been
done. The Democrats have cheated countless times
over the decades, including spying on my campaign,
but weaponizing our justice system to punish a political
opponent, who just so happens to be a President of the
United States and by far the leading Republican
candidate for President, has never happened before.
Ever.


"Manhattan DA Alvin Bragg, who was hand-picked and
funded by George Soros, is a disgrace. Rather than
stopping the unprecedented crime wave taking over
New York City, he's doing Joe Biden's dirty work,
ignoring the murders and burglaries and assaults he
should be focused on. This is how Bragg spends his
time!


"I believe this Witch- Hunt will backfire massively on Joe
Biden. The American people realize exactly what the
Radical Left Democrats are doing here. Everyone can
see it. So our Movement, and our Party - united and
strong - will first defeat Alvin Bragg, and then we will
defeat Joe Biden, and we are going to throw every last
one of these Crooked Democrats out of office so we
can MAKE AMERICA GREAT AGAIN!"
